
Kirkpatrick, C. J.
— The reasons assigned for the reversal of this judgment are so general, that it is difficult [*] to find out on what the plaintiff really relies. Most of them certainly are not founded in the record. As to the complaint about the excess of costs, if there he ground for it, it ought to have been verified, and then we could have given relief; but I see nothing from which we can with certainty infer the fact.
Rossell, J.
— The reasons assigned are not supported by the transcript. Judgment ought to be affirmed.
Pennington, J.
— Concurred in affirming. The irregularity, if any in the return of the summons, is cured by the appearance of the defendant, and that in the return of the venire, by the verdict — Judgment affirmed.
